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                              UNITED STATES BANKRUPTCY COURT
                                              District of New Hampshire
                                                   55 Pleasant Street
                                                       Room 200
                                              Concord, NH 03301−3941


In re:                                                                       Bk. No. 19−10329−BAH
                                                                             Chapter 7
Cassandra L. Baron
     Debtor




                                  ORDER GRANTING MOTION FOR RELIEF


A motion for relief from the automatic stay was filed by Federal National Mortgage Association (Doc. No. 15) (the
"Motion") pursuant to 11 U.S.C. § 362(d) in this chapter 7 case. The Motion was duly noticed upon all parties
concerned with the matter to which said Motion pertains. No objection or responsive pleading in opposition to the
Motion was filed by the scheduled answer date. Accordingly it is hereby ORDERED:

1. The Motion is GRANTED.

2. Pursuant to Federal Rule of Bankruptcy Procedure 4001(a)(3), this order granting relief is stayed for 14 days.

This is a core proceeding in accordance with 28 U.S.C. § 157(b) as to which the Court has jurisdiction of the subject
matter and the parties.

     ENTERED at Concord, New Hampshire.


Date: May 30, 2019                                                           /s/ Bruce A. Harwood
                                                                             Bruce A. Harwood
                                                                             Chief Bankruptcy Judge
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